Action to quiet title to several parcels of land in the county of Los Angeles. The defendant De Witt answered, asserting ownership of one of the tracts. The court found that he was the owner of said tract, and entered judgment in his favor. The plaintiff appeals from the judgment, and from an order denying his motion for a new trial.
The appeal from the judgment was taken more than six months after entry, and cannot, therefore, be considered. On the other appeal, the facts are, in all material respects, precisely similar to those presented in Moyer v. Wilson (L.A. No. 3083),ante, p. 261, [135 P. 1125], just decided, and for the reasons there stated, the order must be upheld.
The appeal from the judgment is dismissed.
The order denying a new trial is affirmed.
Rehearing denied.
Beatty, C.J., dissented from the order denying a rehearing. *Page 781 